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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                 :
                                                  :
       Plaintiffs,                                :       Civil Action No.:       25-1248 (RC)
                                                  :
       v.                                         :       Re Document No.:        9
                                                  :
DONALD J. TRUMP, et al.,                          :
                                                  :
       Defendants.                                :

                                              ORDER

       Under Federal Rule of Civil Procedure 65(c), courts may issue a preliminary injunction

“only if the movant gives security in an amount that the court considers proper to pay the costs

and damages sustained by any party found to have been wrongfully enjoined or restrained.” The

rule “has been read to vest broad discretion in the district court to determine the appropriate

amount of an injunction bond.” DSE, Inc., v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999).

       Defendants request that the Court order Plaintiffs to post a bond in the amount of the

tariffs they would pay but for the preliminary injunction. Mem. of Law in Opp’n to Pls.’ Mot.

for Prelim. Inj. at 43, ECF No. 16. Specifically, they want the Plaintiffs to “identify the entries,

by entry number, importer name, and importer number, that would be covered” by a preliminary

injunction, and to “post Single Transaction Bonds for all such identified entries during the

pendency of any injunctive order in an amount equal to the total entered value, plus all

applicable duties, taxes, and fees, including the duties that would otherwise have been deposited

pursuant to the executive orders.” Id.

       The Court agrees with Plaintiffs that such a remedy would effectively defeat the purpose

of the preliminary relief. See Pls.’ Reply in Supp. of Mot. for Prelim. Inj. at 23–24, ECF No. 17;

see also Nat. Res. Def. Council, Inc., v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971) (holding
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that a bond “is not necessary where requiring [one] would have the effect of denying the

plaintiffs their right to judicial review”). Rule 65(c) has been interpreted to allow district courts

to require no bond at all or only a nominal bond. See, e.g., Nat’l Council of Nonprofits v. OMB,

No. 25-cv-239, 2025 WL 597959, at *19 (D.D.C. Feb. 25, 2025) (no bond); P.J.E.S. ex rel.

Escobar Francisco v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (same); Nat’l Res. Def.

Council, 337 F. Supp. at 169 (nominal bond). Because “[i]t would be a mistake to treat a

revenue loss to the Government the same as pecuniary damage to a private party,” the Court

believes a nominal bond of $100.00 is appropriate. See Nat’l Res. Def. Council, 337 F. Supp. at

169.

       Plaintiffs are HEREBY ORDERED to post bond under Rule 65(c) in the amount of

$100.00.

       SO ORDERED.


Dated: May 29, 2025                                                 RUDOLPH CONTRERAS
                                                                    United States District Judge




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